    Case 2:17-cv-00038-GJQ-TPG ECF No. 39 filed 08/02/18 PageID.268 Page 1 of 1



                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF MICHIGAN
                                        NORTHERN DIVISION

ERIC DEXTER WELCH,

                     Plaintiff,
v.                                                                           Case No. 2:17-cv-00038
                                                                             HON. GORDON J. QUIST
MARK L. DOBIAS,

            Defendant.
__________________________________/

                                                          ORDER

                     The matter before the Court is Plaintiff’s “Motion under 28 U.S.C. § 1915(d)

Service of Process.” (ECF No. 36). In this motion, Plaintiff requests that the Court order the

United States Marshals to serve upon Defendant a “Subpoena to Produce Documents, Information,

or Objects or to Permit Inspection of Premises in a Civil Action” and “Eric D. Welch’s First Set

of Interrogatories to Mark L. Dobias.” Plaintiff does not need the United States Marshals to serve

discovery upon a defendant. In addition, Defendant states in his response that he is in the process

of responding to Plaintiff’s discovery requests.

                     Accordingly, Plaintiff’s motion (ECF No. 36) is DENIED.1

                     IT IS SO ORDERED.

Dated: August 2, 2018
                                                                    . /s/ Timothy P. Greeley       .
                                                                     TIMOTHY P. GREELEY
                                                                     UNITED STATES MAGISTRATE JUDGE




1
    To the extent Plaintiff is seeking an injunction against a prison employee, this matter is not fully briefed.
